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 8                                 UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                         No. 2:15-cr-00205-TLN-EFB
12                       Respondent,
13           v.                                         ORDER
14    MATTHEW MULLER,
15                       Movant.
16

17          Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set aside, or

18   correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United States

19   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          I.      SCREENING

21          On July 18, 2018, the magistrate judge filed findings and recommendations herein which

22   were served on all parties and which contained notice to all parties that any objections to the

23   findings and recommendations were to be filed within fourteen days. (ECF No. 65.) After an

24   extension of time, Movant has filed objections to the findings and recommendations and the

25   Government has filed a response. (ECF No. 76; ECF No. 85.)

26          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

27   Court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

28   Court finds the findings and recommendations to be supported by the record and by proper
                                                       1
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 1   analysis.1

 2            II.      ADDITIONAL MOTIONS

 3            Since the issuance of the findings and recommendations, Movant has filed: (1) a motion to

 4   amend his § 2255 motion (ECF No. 75); (2) a motion for appointment of counsel and a forensic

 5   psychiatrist (ECF No. 82); (3) a motion for expedited relief (ECF No. 83); (4) a “motion for an

 6   order to compel return of case file,” accompanied by a request to seal various supporting

 7   documents (undocketed, submitted by mail on December 10, 2018); and (5) an “emergency

 8   motion for disposition of previous filings” (ECF No. 86). The Government has filed a motion to

 9   stay its obligation to respond to the motion to amend pending the Court’s ruling on the magistrate

10   judge’s findings and recommendations concerning the initial § 2255 motion. (ECF No. 84.)

11            i.       Motion for Stay

12            The Government’s request for a stay (ECF No. 84) is rendered moot by the instant order

13   and is accordingly denied. The Government shall file an opposition or statement of no opposition

14   to the motion to amend within 21 days of the date of this order.

15            ii.      Motion for Attorney and Expert

16            Under 18 U.S.C. § 3006A(a)(2)(B), the district court may appoint counsel to represent a

17   habeas petitioner whenever “the court determines that the interests of justice so require,” and such

18   person is financially unable to obtain representation. “Unless an evidentiary hearing is required,

19   the decision to appoint counsel is within the discretion of the district court.” Knaubert v.

20   Goldsmith, 791 F.2d 722, 728 (9th Cir. 1986); see United States v. Manzo, 423 F. App’x 705, 706
21   (9th Cir. 2011) (applying 18 U.S.C. § 3006A to petitions brought under 28 U.S.C. § 2255).

22            The Court has made no determination as to the necessity of an evidentiary hearing in this

23   matter. Thus, the Court need not appoint counsel for Movant at this juncture unless it determines

24   that justice requires it. In making that determination, the Court evaluates the likelihood of

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              Movant argues in his objections to the findings and recommendations, that the Court failed to provide
     Movant with paper copies of five unreported cases in violation of E.D. Cal. L.R. 133(i)(3)(ii). (ECF 76 at 7.) The
26   Rule states that “[i]n any action wherein a party is incarcerated and appearing pro se, that party shall be served with a
     paper copy of the case . . . cited by the filing party that has not been reported . . . .” E.D. Cal. L.R. 133(i)(3)(ii)
27   (emphasis added). Movant objects to the findings and recommendations on the basis that the Court failed to provide
     these cases. Movant misstates the Local Rule, as the Court is not a party to the action and is under no such
28   obligation. As such, Movant’s objection on this basis is meritless.
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 1   success on the merits as well as the ability of the movant to articulate his claims pro se in light of

 2   the complexity of the legal issues involved. Weygandt v. Look, 718 F.2d 952, 954 (9th Cir.

 3   1983). Movant has not shown that he is likely to succeed on the merits. In addition, he is a

 4   former attorney who is demonstrably adept at litigating on his own behalf. Movant argues that a

 5   forensic expert will be necessary, but the Court cannot assess the need for such an expert at this

 6   early stage. Accordingly, the motion for counsel (and funds for counsel to obtain a forensic

 7   expert) (ECF No. 82) will be denied without prejudice.

 8          iii.    Request to Seal

 9          Plaintiff has submitted to the Court via mail a “motion for order to compel return of case

10   file,” in which he seeks an order from this Court compelling his former defense attorney to return

11   a case file. He has submitted a number of declarations and exhibits in support of that motion, all

12   of which he asks the Court to file under seal.

13          Local Rule 141 governs requests to seal documents. E.D. Cal. L.R. 141. That rule

14   provides that documents may be sealed by order of the court upon the showing required by law.

15   L.R. 141(a). It requires the party making the request to “set forth the statutory or other authority

16   for sealing, the requested duration, the identity, by name or category, of persons to be permitted

17   access to the other documents, and all other relevant information.” L.R. 141(b).

18          The “showing required by law” referred to by Rule 141 is a high one. The Court operates

19   under a strong presumption in favor of access to court records. Ctr. for Auto Safety v. Chrysler

20   Group, LLC, 809 F.3d 1092, 1096 (9th Cir. 2016). Accordingly, a party seeking to file something
21   under seal must present “compelling reasons” supporting the request. Id. The compelling

22   reasons standard requires a court to: (1) find a compelling reason supporting sealing the record

23   and (2) articulate the factual basis for sealing the record, without relying on hypothesis or

24   conjecture. Id. at 1096–97. Courts must conscientiously balance the competing interests of the

25   public and the party who wishes to keep the documents private. Id. at 1097. “What constitutes a

26   ‘compelling reason’ is ‘best left to the sound discretion of the trial court.’” Id. (quoting Nixon v.
27   Warner Commnc’ns, Inc., 435 U.S. 589, 599 (1978)). Some examples of records for which there

28   are compelling reasons to seal are: (1) records that could be used to gratify private spite or
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 1   promote public scandal; (2) records containing libelous statements; and (3) records that contain

 2   business information that could be used to harm a litigant’s competitive standing. Id.

 3           Movant argues that the evidence he submits must be sealed because he is afraid that his

 4   former defense attorney will retaliate against him and his family members and because the

 5   information contained therein may harm that attorney’s reputation (and the reputation of one of

 6   his colleagues). The Court finds that Movant has not shown these interests to be compelling.

 7   Having reviewed the evidence, the Court concludes that the likelihood that it will harm the

 8   reputation of the former defense attorneys is modest, and, in fact, that the Court may require

 9   evidence from these individuals to determine the merits of the motion to compel that Movant

10   seeks to file. Accordingly, the request to seal will be denied and the motion and supporting

11   documents will be returned to movant. E.D. Cal. L.R. 141(e)(1). If Movant wishes to pursue the

12   motion to compel, he may file it on the public docket.

13           Accordingly, IT IS HEREBY ORDERED that:

14           1. The findings and recommendations filed July 18, 2018 (ECF No. 65), are adopted in

15   full.

16           2. Movant’s motion to vacate (ECF No. 61) is DENIED as to Grounds 1–11, Grounds

17   12(a)–(d), Grounds 12(f)–(i), and Ground 14.

18           3. The Government is directed to file a response to Movant’s Grounds 12(e) and 13 within

19   60 days of the date this Order is filed.

20           4. The Government is directed to submit any proposed plea agreements relating to this
21   case and a transcript of the plea colloquy along with their response to the motion.

22           5. The Clerk shall serve a copy of the motion and this order on Movant’s trial counsel.

23   Movant’s trial counsel is directed to file a declaration within 60 days of this Order addressing

24   Movant’s allegations regarding ineffective assistance in connection with the guilty plea, in

25   particular, his conversations with Movant relating to the plea, the likely outcome of a trial, the

26   merits of any mental health defense, and the timing for presenting such a defense.
27           6. The Government shall file an opposition or statement of nonopposition to the motion to

28   amend (ECF No. 75) within 21 days of the date this Order is filed.
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 1          7. Movant’s motion for appointment of counsel (ECF No. 82) is DENIED.

 2          8. The Government’s motion to stay (ECF No. 84) is DENIED as moot.

 3          9. Movant’s motion for expedited relief (ECF No. 83) and emergency motion for

 4   disposition of previous filings (ECF No. 86) are DENIED.

 5          10. Movant’s December 10, 2018, request to seal is DENIED and the Clerk is directed to

 6   return to movant the documents he sought to file under seal.

 7   Dated: February 28, 2019

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10                                    Troy L. Nunley
                                      United States District Judge
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